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The RAP Team, as listed below, has created the Corrective Action Plan and will assure that all responsible parties
complete the tasks and activities and provide evidence of correction.

Name                                                         Position                                            Date
Rikki Saunders                                               Director of Special Ed                              10/1/2017
Tori Wentela                                                 KRESA
Janine VanStee                                               Coordinator of SpEd
Barry Smith                                                  Administrator of St Srvs
Renee Schnaski                                               School Psychologist



Required Compliance and Sanctions
Each activity in the Corrective Action Plan (CAP) is subject to and must be carried out in compliance with the
procedural requirements of the IDEA and corresponding implementing federal regulations and state rules . In no event
may the district leave its obligations toward these findings of noncompliance unresolved.

This CAP will remain open pending OSE and/or OGS/ECD&FE verification that the noncompliance has been
corrected within the required timeline. The district is advised that the OSE and/or OGS/ECD&FE will maintain
jurisdiction over the findings of noncompliance until the CAP is officially closed . Failure to correct the areas of
noncompliance will result in enforcement actions by the State.



MDE CAP Clarification/Approval Comments                              District CAP Clarification




MDE Verification/Closeout Comments                                   ISD Verification Clarification




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Case Number: 17-0159

Complaint Findings:

The district is not in compliance with the IDEA regarding IEP development including the IEPs did not address the
identified students unique educational and behavioral needs.



1. Based on your RAP Team activities, what are the underlying problems that caused the noncompliance? How may
district policies, procedures and practices, or the lack of supports, have contributed to these results?

 During the RAP Team activities, the team specific reviewed the eligibility requirements staff use for OHI and compare
with Kent ISD and Wayne RESA documents. The discussion determined that the district should develop more
streamlined procedures and practices on eligibility in not only OHI but SLD as well as during the next six months. The
possibility of the lack of consistent guidelines other the MARSE and IDEA could have contributed to the initial issue of
non-eligibility, however, the district does not believe that it acted outside of the IDEA and MARSE guidelines .




2. Required Corrective Action:

The district must, in collaboration with the ISD, develop, review or revise the district’s written procedures to ensure
that, for this and all students, the district implements the provision of the IDEA and the MARSE specific to the areas of
noncompliance regarding developing an IEP that addresses a student 's unique educational and behavioral needs. The
district must conduct IEP team meetings for the identified students in the systemic complaint within 30 school days of
receiving consent from the parent(s) and determine whether or not the students' are eligible.
The district must provide professional development for all relevant staff regarding the new procedures .
Evidence of change in the district's practice must be provided and verified by the OSE.



3. Activity steps, dates they will occur, and name/title of person responsible:

        Activity Steps                                      Date/Deadline(s)        Name/Title of Person Responsible
1       Consent was acquired from 4 out of the 6            9/1/2017                Rikki Saunders/Director
        identified students to conduct a REED. The
        other students parent agreed with the initial
        evaluation and did to want to give consent
        for a REED.

2       RAP Team Review other ISD/RESA                      11/29/2017              RAP Team
        procedures to make district
        recommendations for changes to
        procedural disciplinary policies and
        comprehensive evaluations. In collaboration
        with KRESA, the RAP Team reviewed
        documents and corrective action items in
        State Complaint.




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4. What documentation will your district have available as evidence that your tasks and activities were completed
(e.g., meeting notes, agendas, new procedures)?

The district will upload meeting notes, agendas and new policies and procedures throughout the 2017-2018 school
year. Any new procedures will be uploaded as they are developed over the school year.

5. How will the district monitor data on a monthly basis to determine that the tasks and activities listed in #3 have
corrected the noncompliance (e.g., monthly data pulls, monthly record reviews)?

The district will conduct monthly reviews of selected records and initial file reviews with ancillary staff . Documentation
of reviews will be submitted to Catamaran. All prior written notice of assessments will be submitted to parents when
initial consents are signed.

If an assurance statement is required, please upload it here:
https://catamaran.partners//_Upload/317387-doc02469720171130145328.pdf
https://catamaran.partners//_Upload/317387_1125442_2-doc03757020180731132736.pdf
https://catamaran.partners//_Upload/317387_1125442_3-doc03756920180731132630(1).pdf


MDE Findings Comments                                                District Findings Clarification




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Case Number: 17-0159

Complaint Findings:

The district is not in compliance with the IDEA regarding evaluations including :
a. Evaluations for identified students suspected of a disability were not comprehensive;
b. Requirements regarding manifestation determination reviews and changes in placement were not followed;
c. Prior parental consent for evaluations were not consistently obtained.



1. Based on your RAP Team activities, what are the underlying problems that caused the noncompliance? How may
district policies, procedures and practices, or the lack of supports, have contributed to these results?

 The procedures we are looking at reviewing are the MDR procedures and our practices of using IAES. The support
for building principals in notice of change of placements for suspensions. In addition, the team feels that there needs
to be a development of a more comprehensive system of checks and balances among ancillary staff regarding initial
evaluations. There will be workgroups in January 2018 thru May 2018.




2. Required Corrective Action:

The district must, in collaboration with the ISD, develop, review or revise the district’s written procedures to ensure
that, for this and all students, the district implements the provision of the IDEA and the MARSE specific to the areas of
noncompliance regarding:
a. Provision of a comprehensive evaluation for all students suspected of a disability;
b. Requirements regarding manifestation determination reviews and changes in placement;
c. Obtaining prior consent for evaluations.
The district must conduct IEP team meetings for the identified students in the systemic complaint within 30 school
days of receiving consent from the parent(s) and determine whether or not the students' are eligible.
The district must, for all six students identified under separate cover to the district:
a. By September 30, 2017, with agreement from the parent(s), convene a review of existing evaluation data for each
student to accurately identify all the assessments appropriate for the evaluation of the student.
b. Seek consent from the parent(s) to conduct the evaluation(s) as determined by the review of existing evaluation
data.
c. Provide prior written notice to the parent(s) for the evaluation(s).
d. Conduct the evaluations after consent is given by the parent(s).
e. Conduct a multidisciplinary evaluation team meeting to make recommendations for all eligibility areas under
consideration.
The district must provide professional development for all relevant staff regarding the new procedures .
Evidence of change in the district's practice must be provided and verified by the OSE.



3. Activity steps, dates they will occur, and name/title of person responsible:

        Activity Steps                                      Date/Deadline(s)        Name/Title of Person Responsible
1       Consent was acquired from 4 out of the 6            9/22/2017               Rikki Saunders/Director
        identified students to conduct a REED. The
        other students parent agreed with the initial
        evaluation and did to want to give consent


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        for a REED.

        Professional development of all ancillary            11/17/2017                 Rikki Saunders/Director
        staff i.e. school psychologists, speech
        therapists, school social workers, teacher
        consultants, occupational therapists,
        physical therapist and secondary special
        education department heads will be
        conducted on Friday, November 17, 2017/

        RAP Team Review other ISD/RESA                       11/29/2017                 RAP Team Review of Kent and Wayne
        procedures to make district                                                     ISED Procedures
        recommendations for changes to
        procedural disciplinary policies and
        comprehensive evaluations. In collaboration
        with KRESA, the RAP Team reviewed
        documents and corrective action items in
        State Complaint.



4. What documentation will your district have available as evidence that your tasks and activities were completed
(e.g., meeting notes, agendas, new procedures)?

The district will provide agendas, professional development presentation materials as well as sign- in sheets of staff
who attend the professional development. A new checklist for evaluation team to use during review of initial and
reevaluations to ensure comprehensive protocol is followed according to MARSE and IDEA. In addition, Clark Hill
provided the district with training materials regarding discipline practices shared with all ancillary staff at their monthly
professional development meeting on 11-17-17. The administrative staff are scheduled for January 2018.

5. How will the district monitor data on a monthly basis to determine that the tasks and activities listed in #3 have
corrected the noncompliance (e.g., monthly data pulls, monthly record reviews)?

The district will monitor policies with administrators providing training and follow-up of implementation of new policies
for administrators and ancillary staff through monthly reviews of initials evaluations , file reviews of targeted students
and monthly reviews of disciplinary practices.

If an assurance statement is required, please upload it here:
https://catamaran.partners//_Upload/317388-doc02459720171129115903(1).pdf
https://catamaran.partners//_Upload/317388_2-SPECIALEDUCATIONDISCIPLINEPPT11.15.17.pdf
https://catamaran.partners//_Upload/317388_1125442_3-doc03757420180731143711(1).pdf


MDE Findings Comments                                                 District Findings Clarification




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